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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 MIGUEL COCA, and
 ALEJANDRO RANGEL-LOPEZ,

                          Plaintiffs,


  vs.                                                         Case No. 22-1274-EFM

 CITY OF DODGE CITY, KS,
 CITY COMMISSION OF DODGE CITY,
 E. KENT SMALL, MICHAEL BURNS,
 RICK SOWERS, CHUCK TAYLOR, and
 JOSEPH NUCI,
                          Defendants.



                                  TRIAL SCHEDULING ORDER

        This matter will be called for trial at 9:00 a.m. February 26, 2024. The matter will

commence in Courtroom 408 in the Federal Courthouse in Wichita, Kansas. This is a non-jury

trial and is a #2 trial setting. The case is allotted 5 days for trial.

        Following are your trial deadlines. Please note these date may differ from those on the

Pretrial Order issued by the Magistrate Judge.

        a) Final witness and exhibit disclosures are to be filed by both parties no later than

February 5, 2024. All objections to these disclosures are to be filed no later than February 12,

2024.

        The parties shall exchange copies of exhibits at or before the time they are marked. The

parties shall also prepare lists of their expected exhibits, in the form attached to this order, for

use by the courtroom deputy and the court reporter. Three (3) copies of the exhibit list shall be

provided to the Court at the beginning of the trial; one for the judge, one for the courtroom
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deputy, and one for the court reporter. In marking exhibits, the parties shall use preassigned

ranges of numbered exhibits. Exhibit Nos. 1-400 shall be reserved for plaintiff(s); Exhibit Nos.

401-800 shall be reserved for defendant(s); Exhibits 801 and higher shall be reserved for any

third party. Each exhibit that the parties expect to offer shall be marked with an exhibit sticker,

placed in a three-ring notebook, and tabbed with a numbered tab that corresponds to the exhibit

number. The parties shall prepare exhibit books with copies of the exhibits to be provided to the

Judge and opposing counsel. The Judge’s exhibit book(s) should not be delivered prior to the

start of the trial unless directed otherwise. During trial, all exhibits that have been admitted shall

remain with the courtroom deputy unless the court directs otherwise.

       At trial, witnesses who are within the subpoena power of the Court and who are officers,

agents, or employees of the parties need not be formally subpoenaed to testify, provided that

opposing counsel is given at least 3 business days advance notice of the desired date of trial

testimony. For purposes of this entire order, the calculation of “business days” does not include

Saturday, Sunday, or any legal holiday as defined by Fed. R. Civ. P. 6(a)(4).

       By no later than 5:00 p.m. each day of trial, counsel shall confer and exchange a good

faith list of the witnesses who are expected to testify the next day of trial.

       b) Motions in Limine are to be filed by both parties no later than February 12, 2024.

Responses to the Motions in Limine are to be filed by February 15, 2024. No replies will be

filed. Because this is a trial to the bench, the Court requests parties to limit motions in limine to

only those matters which will impact whether or not witnesses will need to be present at trial;

other evidentiary matters the Court will take up as appropriate during the trial.

       c)   Deposition testimony designations are to be filed by both parties no later than

February 5, 2024. Any objections to the designations and counter designations shall be filed no

later than February 12, 2024. All objections to counter deposition designations are to be filed by
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February 14, 2024.

        Copies of depositions transcripts for which the parties have not been able to resolve their

disputes after conferring in good faith shall be marked with different colored highlighting. Red

highlighting shall be used to identify the testimony that plaintiff(s) has designated, blue

highlighting shall be used for defendant(s), yellow highlighting shall be used for any third party,

and green highlighting shall be used to identify the objections to any designated testimony noted

in the margin. An Index of the page numbers in the transcript the objection can be found shall be

included. They are to be hand delivered to the trial judge by February 21, 2024 at 9:00 a.m.

Following the Court’s ruling on the objections, the parties shall then file the portions of the

depositions to be used at trial in accordance with D. Kan. Rule 32.1. Deposition testimony of

non-party witnesses should not be designated unless they are not available for appearance, and

will not appear, at trial.

        d) If either of the parties chooses to file a trial brief in advance of trial, the Court would

appreciate having it by February 20, 2024. Proposed Findings of Fact and Conclusions of Law

need not be filed until after trial.

        A pretrial/motions in limine conference will be held at 2:00 p.m. on February 23, 2024.

This conference will be held in the assigned courtroom for trial. At that time, the parties should

be prepared to argue their motions in limine if asked to do so by the Court and identify any other

anticipated evidentiary problems or other issues regarding witnesses or exhibits.

        IT IS SO ORDERED.

        Dated this 5th day of January, 2024.




                                               ERIC F. MELGREN
                                               CHIEF UNITED STATES DISTRICT JUDGE
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                EXHIBITS FOR (plaintiff or defendant)

                CASE NO. ______________-EFM


No.         Exhibit                                 ID OFF ADM WITNESS
